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                     Exhibit A
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                       UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF CALIFORNIA



 IN RE: JUUL LABS, INC., MARKETING SALES                    3:19-md-02913 (WHO)
 PRACTICE AND PRODUCTS LIABILITY
 LITIGATION
                                                            Hon. William H. Orrick
 This Document Relates to All Plaintiffs Identified in
 Exhibit A to Altria’s Notice of Motion and Motion to
 Dismiss with Prejudice Non-Communicating
 Plaintiffs’ Claims


                        AFFIDAVIT OF MORGAN M. MEADOR

I, MORGAN M. MEADOR, hereby declare and state as follows:

       1.      Personal Information. My name is Morgan M. Meador. I am a Partner at

BrownGreer     PLC,    located    at    250 Rocketts     Way,   Richmond,    Virginia   23231

(“BrownGreer”).

       2.      The Capacity and Basis of this Declaration. I am over the age of 21. Unless

otherwise noted, the matters set forth in this Declaration are based upon my personal

knowledge, information received from the parties in this proceeding (the “Parties”), and

information provided by my colleagues at BrownGreer.

       3.      BrownGreer’s Appointment as Settlement Administrator. On July 26, 2023,

Altria Group, Inc., Philip Morris USA, Inc., Altria Client Services LLC, Altria Enterprises,

LLC, and Altria Group Distribution Company (collectively “Altria”); and Plaintiffs’

Leadership in MDL No. 2913 and JCCP No. 5052 on behalf of all Personal Injury Plaintiffs,

(together, the “Parties”) entered into a Settlement Agreement to establish a program to

resolve the actions, disputes and claims that the settling Personal Injury Plaintiffs and their

counsel have or could have asserted against Altria and any other Released Party in respect

of the Released Claims and Liabilities. Section 1.33 of the Settlement Agreement named

BrownGreer as Personal Injury Settlement Administrator (“Settlement Administrator”).

       4.      The Role of the Settlement Administrator. The Settlement Administrator’s

duties in this program include:

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            (a) Collecting and holding in escrow pending receipt of the Personal Injury

               Settlement Amount into the Personal Injury Qualified Settlement Account all

               Eligible Plaintiff Participation Forms and Releases submitted by Eligible

               Plaintiffs who wish to participate in the settlement program.

            (b) Providing a list of Personal Injury Opt-Outs and Non-Communicating

               Plaintiffs to Altria and Plaintiffs’ Leadership.

            (c) Sending Notices to Counsel for Eligible Plaintiffs who failed to submit

               complete Eligible Plaintiff Participation Forms and Releases.

       5.      The Purpose of this Declaration.           I submit this Declaration to detail

BrownGreer’s execution of a portion of the duties described above.

       6.      Non-Communicating Plaintiffs.         Sections 7.1 and 9.1 of the Settlement

Agreement required Counsel to produce a list of all Non-Communicating Plaintiffs to the

Settlement Administrator by January 2, 2024.

       7.      Upon receipt of the lists sent to us by Counsel, we compiled them into one

comprehensive list of Non-Communicating Plaintiffs, which we sent by email to Altria and

Plaintiffs’ Leadership as follows:

            (a) January 19, 2024: 1,582 Non-Communicating Plaintiffs, 524 of which were

                MDL Plaintiffs;

            (b) January 26, 2024: 1,553 Non-Communicating Plaintiffs, 517 of which were

                MDL Plaintiffs 1;

            (c) February 2, 2024: 1,551 Non-Communicating Plaintiffs, 519 of which were

                MDL Plaintiffs 2;




1
  The total number of Non-Communicating Plaintiffs was reduced because 29 Non-Communicating
Plaintiffs submitted completed enrollment packages.
2
  The total number of MDL Non-Communicating Plaintiffs increased because two MDL Non-
Communicating Plaintiffs had submitted completed enrollment packages, but four MDL Plaintiffs that
were inadvertently removed from the prior list were confirmed to be Non-Communicating Plaintiffs.

                                                2
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            (d) February 9, 2024: 1,518 Non-Communicating Plaintiffs, 512 of which were

                MDL Plaintiffs 3;

            (e) February 16, 2024: 923 Non-Communicating Plaintiffs, 240 of which were

                MDL Plaintiffs 4;

            (f) February 23, 2024: 916 Non-Communicating Plaintiffs, 241 of which were

                MDL Plaintiffs 5;

            (g) March 1, 2024: 915 Non-Communicating Plaintiffs, 240 of which were MDL

                Plaintiffs 6;

            (h) March 15, 2024: 914 Non-Communicating Plaintiffs, 240 of which were MDL

                Plaintiffs 7;
            (i) March 29, 2024: 908 Non-Communicating Plaintiffs, 240 of which were MDL

                Plaintiffs 8;

            (j) April 1, 2024: 905 Non-Communicating Plaintiffs, 238 of which were MDL

                Plaintiffs 9;

            (k) April 16, 2024: 884 Non-Communicating Plaintiffs, 232 of which were MDL

                Plaintiffs 10;

3
  The total number of Non-Communicating Plaintiffs was reduced because 33 Non-Communicating
Plaintiffs submitted completed enrollment packages.
4
  The total number of Non-Communicating Plaintiffs decreased because 595 plaintiffs were removed
because they were Non-Communicating Plaintiffs in the JLI Settlement and therefore their cases
against Altria had already been dismissed.
5
  Although the total number of Non-Communicating Plaintiffs decreased, the number of MDL
plaintiffs increased because eight Non-Communicating Plaintiffs in the JCCP action completed
enrollment packages and were removed as Non-Communicating Plaintiffs, and one MDL Plaintiff that
was inadvertently removed from a prior list was confirmed to be Non-Communicating.
6
  The total number of Non-Communicating Plaintiffs was reduced because one MDL Non-
Communicating Plaintiff submitted a completed enrollment package.
7
  Although the total number of Non-Communicating Plaintiffs decreased, the number of MDL
plaintiffs stayed the same because a JCCP plaintiff who was previously identified as Non-
Communicating confirmed his intent to Opt Out of the Settlement.
8
  Although the total number of Non-Communicating Plaintiffs decreased, the number of MDL
plaintiffs stayed the same because six JCCP Non-Communicating Plaintiffs submitted completed
enrollment packages.
9
  The total number of Non-Communicating Plaintiffs was reduced because three Non-Communicating
Plaintiffs submitted completed enrollment packages.
10
   The total number of Non-Communicating Plaintiffs was reduced because 22 Non-Communicating
Plaintiffs submitted completed enrollment packages, and one MDL plaintiff who was previously

                                               3
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             (l) April 19, 2024: 875 Non-Communicating Plaintiffs, 231 of which were MDL

                Plaintiffs 11; and

             (m) May 22, 2024: 856 Non-Communicating Plaintiffs, 230 of which were MDL

                Plaintiffs 12.

       8.      In addition to sending a comprehensive list of Non-Communicating Plaintiffs to

Altria and Plaintiffs’ Leadership, we issued Failure to Comply Notices to counsel for the Non-

Communicating Plaintiffs. The Failure to Comply Notice provided each Plaintiff with a 10-day

deadline to request reconsideration and cure the deficiencies that led to the Notice. As of

January 9, 2024, we have issued Failure to Comply Notices to all 230 Non-Communicating

Plaintiffs with claims filed in the MDL.

       9.      The 10-day deadline to request reconsideration has expired for all Non-

Communicating Plaintiffs who received Failure to Comply Notices. To date, 230 MDL

Plaintiffs have not cured the deficiencies that led to the Notice.

       10.     Attached to this Declaration as Exhibit A is a list of the 230 MDL Plaintiffs who

have been identified as Non-Communicating Plaintiffs and who remain Non-Communicating

Plaintiffs after receiving the Settlement Administrator’s Failure to Comply Notice.

       I, Morgan M. Meador, declare under penalty of perjury pursuant to 28 U.S.C. § 1746

that the foregoing is true and correct to the best of my knowledge. Executed on this 22nd

day of May, 2024.



                                               ______________________________

                                                           Morgan M. Meador



identified as Non-Communicating confirmed his intent to Opt Out of the Settlement. Additionally, two
JCCP plaintiffs who failed to submit completed enrollment packages were added to the list of Non-
Communicating Plaintiffs.
11
   The total number of Non-Communicating Plaintiffs was reduced because nine Non-Communicating
Plaintiffs submitted completed enrollment packages.
12
   The total number of Non-Communicating Plaintiffs was reduced because 18 Non-Communicating
Plaintiffs submitted completed enrollment packages and one MDL Non-Communicating Plaintiff was
removed while they consider whether to participate in the Settlement.

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                                                                             EXHIBIT A
                                                                      Altria Personal Injury Settlement Program
                                                                 MDL Non-Communicating Plaintiffs Subject to Dismissal
                                                                                   (As of 5/22/2024)
                                             Middle
      Plaintiff ID          First Name                      Last Name                          Case Caption                               Docket Number                   Law Firm
                                             Initial
1.     MDL-1769      Erik                              Acheson           Erik Acheson v. JUUL Labs Inc., et al                              3:20-cv-06083    Morgan & Morgan
                                                                         R.A., a minor, by an dthrough his parent and next friend,
2.     MDL-1057      Reagan                            Adams                                                                                3:20-cv-01160    Morgan & Morgan
                                                                         PHILIP ADAMS v. JUUL Labs Inc., et al
3.     MDL-6744      Ryker                             Allen             N/A                                                                    N/A          Morgan & Morgan
4.     MDL-9198      Madison                           Alspach                                                                                               Douglas & London
5.     MDL-7281      Kira                              Ambrosi           Kira Ambrosi v. JUUL Labs Inc., et al                              3:22-cv-05846    Morgan & Morgan
6.     MDL-7470      Anzhelika                         Amelina           Anzhelika Amelina v. JUUL Labs Inc., et al                         3:22-cv-07817    Morgan & Morgan
7.     MDL-5346      KEVYN                             ANNONIO           Kevyn Annonio v. Juul Labs, Inc. et al                             3:21-cv-5676     Pulaski Law Firm, PLLC
8.     MDL-1118      Ashlin                            Ardito            Ashlin Ardito v. JUUL Labs, Inc.                                   3:20-cv-00908    Watts Guerra, LLP
9.     MDL-9625      Barbara                           Arnold            Barbara Arnold v. JUUL Labs, Inc., et. al                          3:22-cv-07555    Watts Guerra, LLP
                                                                         Jennifer Chan as Guardian ad Litem to M.B., a minor v.
10.    MDL-9665      Matai                             Barre                                                                                3:22-cv-07574    Watts Guerra, LLP
                                                                         JUUL Labs, Inc., et. al
11.   MDL-10502      David                             Beckett           David Beckett v. JUUL Labs Inc., et al                             3:22-cv-06809    Morgan & Morgan
12.   MDL-1383       Tyler                             Bergey            Tyler Bergey v. JUUL Labs, Inc.                                    3:20-cv-03428    Watts Guerra, LLP
13.   MDL-6707       Jacob                             Bligh             Jacob Bligh v. JUUL Labs Inc., et al                               3:22-cv-06657    Morgan & Morgan
14.   MDL-9611       Leiyah                            Bonday            Leiyah Bonday v. JUUL Labs, Inc., et. al                           3:22-cv-07579    Watts Guerra, LLP
15.   MDL-10952      SHANE               M             BRIDGES                                                                                               Hare Wynn Newell & Newton
16.   MDL-6014       Daniel                            Britton           Daniel Britton v. JUUL Labs Inc., et al                             3:21-cv-07976   Morgan & Morgan
17.   MDL-10967      Garner                            Brown             Brown v. Juul Labs, Inc. et al                                  3:22-cv-07729-WHO   ASK LLP
18.   MDL-8037       Brock                             Brownlee          Brock Kerns                                                         3:22-cv-08535   Pulaski Law Firm, PLLC
19.   MDL-10785      Olivia                            Buchika           Ben Simon v. JUUL Labs Inc., et al                                  3:22-cv-08052   Morgan & Morgan
20.   MDL-9483       Devin                             Bullins           Devin Bullins v. JUUL Labs Inc., et al                              3:22-cv-02264   Morgan & Morgan
21.   MDL-7386       Julia                             Burden            Julia Burden v. JUUL Labs Inc., et al                               3:22-cv-06919   Morgan & Morgan
22.   MDL-7266       Francesco                         Camilli           Francesco Camilli v. JUUL Labs Inc., et al                          3:22-cv-06831   Morgan & Morgan
23.   MDL-1804       KENNETH                           CAMPBELL          Kenneth Campbell v. JUUL Labs, Inc. et al.                          3:20-cv-03738   Oliver Law Group P.C.
24.   MDL-7107       Sebastian                         Capote            Sebastian Capote v. JUUL Labs Inc., et al                           3:22-cv-06773   Morgan & Morgan
25.   MDL-5888       Noah                              Carbert           Noah Carbert v. JUUL Labs Inc., et al                               3:21-cv-09692   Morgan & Morgan
26.   MDL-3750       ADRIANNA                          CARDELL           Adrianna Cardell vs JUUL Labs Inc                                   3:20-cv-08820   Beasley Allen
27.   MDL-10929      DEREK                             CARVER            Carver, Derek v. Juul Labs, Inc.,                               3:22-CV-06178-WHO   Frazer PLC
28.   MDL-7667       Tyler                             Chance            N/A                                                                      N/A        Morgan & Morgan
29.   MDL-10951      CLAIRE              E             CHIQUETE                                                                                              Hare Wynn Newell & Newton
30.   MDL-10862      AMBER                             CHUTE                                                                                                 Simmons Hanly Conroy
31.   MDL-8236       Jeremiah                          Clarke            Jeremiah Clarke                                                     3:22-cv-8175    Pulaski Law Firm, PLLC
32.   MDL-3517       RONALD                            CLAYTOR           Claytor v. JUUL Labs, Inc., et al.                                 3:20-cv-08316    Beasley Allen
33.   MDL-8242       Ashten                            Coker             Ashten Coker v. Juul Labs, Inc. et al                              3:22-cv-02484    Pulaski Law Firm, PLLC
34.   MDL-9240       Ashten                            Coker                                                                                                 Douglas & London

35.    MDL-1067      Bridgette                         Collins           B.C., a Minor, by Tara Dye, Her Mother and Next Friend,            3:20-cv-02375    Morgan & Morgan

36.   MDL-8251       Don                               Cooper                                                                                                Pulaski Law Firm, PLLC
37.   MDL-3753       Ryan                              Cooper            Ryan Cooper v. Juul Labs, Inc., et al                                20-cv-08333    Romanucci & Blandin, LLC
38.   MDL-8257       Rose                              Cosenza           Rose Cosenza v. Juul                                                3:22-cv-08570   Pulaski Law Firm, PLLC
39.   MDL-7429       Melanie                           Cosmes            Melanie Cosmes v. JUUL Labs Inc., et al                             3:22-cv-07873   Morgan & Morgan
40.   MDL-10750      GABRIEL                           CROFT             Croft v. Juul Labs, Inc., et al                                 3:22-cv-06107-WHO   ASK LLP
41.   MDL-10694      JULIA                             CURTIS            Julia Curtis v. JUUL Labs, Inc. et al                               3:22-cv-07982   Beasley Allen
42.   MDL-10930      RECE                              DALE              Dale, Rece v. Juul Labs, Inc.,                                  3:22-CV-06188-WHO   Frazer PLC
43.   MDL-4090       Keyosha                           Decuir            Keyosha Decuir v. JUUL Labs, Inc., et. al                           3:20-cv-08919   Watts Guerra, LLP
44.   MDL-8285       Andrew                            Delk                                                                                                  Pulaski Law Firm, PLLC
45.   MDL-5192       BOBBY                             DICKENS           Reeder et al v. Juul Labs, Inc. et al                             3:21-cv-05959     Parker Waichman LLP
46.   MDL-10931      KEITH                             DINKINS           Dinkins, Keith v. Juul Labs, Inc.,                              3:22-CV-06208-WHO   Frazer PLC
47.   MDL-6057       LONNY                             DITELLA           Justin Sathue v. JUUL Labs, Inc. et al                              3:21-cv-10061   Pulaski Law Firm, PLLC
48.   MDL-1842       Zachary                           Doe               Zachary Doe v. JUUL Labs Inc., et al                                3:20-cv-06601   Morgan & Morgan
49.   MDL-7538       Madison                           Doty              Madison Doty v. JUUL Labs Inc., et al                               3:22-cv-06476   Morgan & Morgan
50.   MDL-6728       Audreeanna                        Downing           Audreeanna Downing v. JUUL Labs Inc., et al                         3:22-cv-06741   Morgan & Morgan
51.   MDL-1063       Bennett                           DuBois            Bennett DuBois v. JUUL Labs Inc., et al                             3:20-cv-01369   Morgan & Morgan
                                                                         Dudani v. Juul Labs, Inc. previously d/b/a Pax Labs, Inc.
52.   MDL-10778      Shawn                             Dudani                                                                            3:22-cv-08400-WHO   ASK LLP
                                                                         and Ploom Inc. et al
                                                                         J.D., by and through Kristyn Dunstan, as Next Friend and
53.    MDL-4654      Jaiden                            Dunstan                                                                              3:21-cv-02034    Morgan & Morgan
                                                                         Parent v. JUUL Labs Inc., et al
54.    MDL-9272      Joseph                            Economides                                                                                            Douglas & London
55.    MDL-4044      Kathryn                           Edmond            Kathryn Edmond v. JUUL Labs, Inc., et. al                          3:20-cv-09192    Watts Guerra, LLP
56.    MDL-7776      ALEXANDER                         ERDELLAN          Alexander Erdellan v. Juul, et al.                                 3:22-cv-07997    Pulaski Law Firm, PLLC
57.    MDL-7089      Eduardo                           Fabri             Eduardo Fabri v. JUUL Labs Inc., et al                             3:22-cv-05590    Morgan & Morgan
58.    MDL-4508      ELAINA                            FEAGANS                                                                                               Grant & Eisenhofer
                                                                         Ferris v. Juul Labs, Inc., previously d/b/a as Pax Labs, Inc.
59.   MDL-10923      Abigail                           Ferris                                                                            3:22-cv-08202-WHO   ASK LLP
                                                                         and Ploom Inc. et al
60.   MDL-3880       JOSEPH              LEE           FERRIS            Joseph Ferris v. Juul Labs Inc., et al                             3:20-cv-07745    Parker Waichman LLP
61.   MDL-9543       Emily               Grace         Fight             Emily Grace Fight V juul Labs, Inc et. al                          3:22-cv-07384    Watts Guerra, LLP
62.   MDL-10972      Giavanna                          Fioretti          Giavanna Fioretti v. JUUL Labs Inc., et al                         3:22-cv-06368    Morgan & Morgan
63.   MDL-5302       CARNEILROUS                       FLUCKER           Carneilrous Flucker                                                 3:21-cv-6373    Pulaski Law Firm, PLLC
64.   MDL-6879       Travis                            Ford              Travis Ford v. JUUL Labs Inc., et al                               3:22-cv-04333    Morgan & Morgan
65.   MDL-7697       Taylor                            Freels            N/A                                                                     N/A         Morgan & Morgan
66.   MDL-7807       DAKOTA                            FROST             DAKOTA FROST                                                       3:22-cv-07847    Pulaski Law Firm, PLLC
67.   MDL-4638       Tahj                              Fulcher           Tahj Fulcher v. JUUL Labs Inc., et al                              3:21-cv-00563    Morgan & Morgan
68.   MDL-8348       Julia                             Garrett           Julia Garrett v. JUUL et. al.                                       3:22-cv-8383    Pulaski Law Firm, PLLC
69.   MDL-5429       MITCHELL                          GERSH             Gersh vs. JUUL Labs, Inc et. al.                                3:21-cv-07455-WHO   Beasley Allen
70.   MDL-7452       Basmalah                          Ghahin            Basmalah Ghahin v. JUUL Labs Inc., et al                           3:22-cv-06281    Morgan & Morgan
71.   MDL-7305       Lincoln                           Gibson            Lincoln Gibson v. JUUL Labs Inc., et al                            3:22-cv-06942    Morgan & Morgan
72.   MDL-9297       Samuel                            Gill                                                                                                  Douglas & London
73.   MDL-7931       Jaime                             Gomez                                                                                                 Pulaski Law Firm, PLLC
74.   MDL-7933       Camilo                            Gonzalez                                                                                              Pulaski Law Firm, PLLC
75.   MDL-8565       JONATHAN                          GRANTHAM                                                                                              Allen & Nolte, PLLC
76.   MDL-10525      Devin                             Gryl              Devin Gryl v. JUUL Labs Inc., et al                                3:22-cv-06683    Morgan & Morgan
77.   MDL-7950       Alberto                           Guerrero                                                                                              Pulaski Law Firm, PLLC
78.   MDL-6709       Liam                              Guise             N/A                                                                     N/A         Morgan & Morgan
79.   MDL-10504      Wyatt                             Harrington        Wyatt Harrington v. JUUL Labs Inc., et al                          3:22-cv-06821    Morgan & Morgan
80.   MDL-1853       Hunter                            Haynes            Hunter Haynes vs. JUUL Labs, Inc., et. al                          3:20-cv-07091    Watts Guerra, LLP
81.   MDL-7976       Debbie                            Hennessy          Debbie Hennessy v. JUUL et. al.                                    3:22-cv-08018    Pulaski Law Firm, PLLC
82.   MDL-7268       Daniel                            Hermida           Daniel Hermida v. JUUL Labs Inc., et al                            3:22-cv-06807    Morgan & Morgan
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                                                                        Altria Personal Injury Settlement Program
                                                                   MDL Non-Communicating Plaintiffs Subject to Dismissal
                                                                                     (As of 5/22/2024)
                                           Middle
       Plaintiff ID       First Name                     Last Name                              Case Caption                                Docket Number                          Law Firm
                                           Initial
83.    MDL-7439       Ashley                         Hicks                 Ashley Hicks v. JUUL Labs Inc., et al                              3:22-cv-00336        Morgan & Morgan
84.    MDL-10786      Tyler                          Higgins               Higgins v. Juul Labs, Inc. et al                                3:22-cv-08139-WHO       ASK LLP
85.    MDL-10950      ELI                            HINES                                                                                                         Hare Wynn Newell & Newton
86.    MDL-4128       JACOB            M             HISER                                                                                                         Grant & Eisenhofer
                                                                           Scott Horton, individually and on behalf of his minor child,
87.     MDL-4025      SCOTT                          HORTON                                                                                3:20-cv-08510-WHO       Louison, Costello, Condon & Pfaff, LLP
                                                                           J.H. v. Juul, et al.
 88.   MDL-9359       Ralph                          Howell                Messina, et al.                                                     22-cv-07109         Douglas & London
 89.   MDL-6839       Kaitlyn                        Hunt                  Kaitlyn Hunt v. JUUL Labs Inc., et al                              3:22-cv-05650        Morgan & Morgan
 90.   MDL-6718       Noah                           Hutchinson            Noah Hutchinson v. JUUL Labs Inc., et al                           3:22-cv-06649        Morgan & Morgan
 91.   MDL-6395       TYLER                          HUTE                                                                                                          Douglas & London
 92.   MDL-5206       Maria                          Ireland               Maria Ireland v. JUUL Labs, Inc. et al.                         3:21-cv-06413-WHO       Watts Guerra, LLP
 93.   MDL-11051      Claudia                        Irving                Claudia Irving v. Juul                                              3:22-cv-8724        Pulaski Law Firm, PLLC
 94.   MDL-6854       Shantasia                      Jacob                 Shantasia Jacob v. JUUL Labs Inc., et al                           3:22-cv-05909        Morgan & Morgan
 95.   MDL-9368       Kendell                        Johnson                                                                                                       Douglas & London
 96.   MDL-5620       Khadija                        Julien                Khadija Julien v. JUUL Labs, Inc., et. al.                         3:21-cv-08418        Watts Guerra, LLP
 97.   MDL-3381       Nicholas                       Kapon                 Nicholas Kapon v. JUUL Labs Inc., et al                            3:20-cv-07500        Morgan & Morgan
 98.   MDL-7507       Kobie                          Karhoff               Kobie Karhoff v. JUUL Labs Inc., et al                             3:22-cv-06447        Morgan & Morgan
 99.   MDL-4767       Aram                           Kashakhi              Aram Kashakhi v. JUUL Labs Inc., et al                             3:21-cv-04070        Morgan & Morgan
100.   MDL-4932       Steven                         Keenum                Steven Keenum v. JUUL Labs, Inc., et al.                        3:21-cv-05051-WHO       Watts Guerra, LLP
                                                                           Timugen Keffer, Individually and as Personal
101.    MDL-1682      MADISEN                        KEFFER                Representative for the Estate of his minor child, M.K.,        3:19-md-02913-WHO        Pulaski Law Firm, PLLC
                                                                           Deceased v. Juul Labs, Inc. et al
102.   MDL-7275       Justin                         Kehoe                 Justin Kehoe v. JUUL Labs Inc., et al                              3:22-cv-06924        Morgan & Morgan
103.   MDL-1135       Allyssa                        Keller                Allyssa Keller, Plaintiff, v. JUUL Labs, Inc., Defendants       3:20-cv-00262-WHO       Watts Guerra, LLP
104.   MDL-11029      KAYLA                          KENVILLE              Kayla Ohlde v. JUUL et. al.                                         3:22-cv-8835        Pulaski Law Firm, PLLC
105.   MDL-7440       Bryer                          Ketterman             Bryer Ketterman v. J JUUL Labs Inc., et al                         3:22-cv-06341        Morgan & Morgan
106.   MDL-7374       Mercury                        Khalsa                Mercury Khalsa v. JUUL Labs Inc., et al                            3:22-cv-06592        Morgan & Morgan
107.   MDL-9615       Rose                           King                  Rose King v. JUUL Labs, Inc., et. al                               3:22-cv-07583        Watts Guerra, LLP
108.   MDL-11346      Kyle                           Kirk                  Kyle Kirk v. Juul                                                   3:22-cv-8811        Pulaski Law Firm, PLLC
109.   MDL-3868       Gabrielle                      Kirkendol             Gabrielle Kirkendol v. JUUL Labs Inc., et al                       3:20-cv-08299        Morgan & Morgan
110.   MDL-6947       Tatum                          Klosterman            Tatum Klosterman v. JUUL Labs Inc., et al                          3:22-cv-05914        Morgan & Morgan
111.   MDL-6791       James                          Knight                James Knight v. JUUL Labs Inc., et al                              3:22-cv-04666        Morgan & Morgan
112.   MDL-8053       Chase                          Kristiansen           Chase Kristiansen                                                  3:22-cv-07936        Pulaski Law Firm, PLLC
113.   MDL-7106       Colby                          Kudla                 Colby Kudla v. JUUL Labs Inc., et al                               3:22-cv-06346        Morgan & Morgan
114.   MDL-6487       Jadon                          Kummers               Kummers v. JUUL Labs, Inc. et al                                   3:22-cv-06151        Goza & Honnold, LLC
115.   MDL-4155       ALISSA                         LAKE                  Alissa Lake v. Juul Labs, Inc. et al                               3:20-cv-08927        Pulaski Law Firm, PLLC
116.   MDL-1139       Aaron                          Lau                   Aaron Lau v. JUUL Labs, Inc.                                       3:20-cv-01146        Watts Guerra, LLP
117.   MDL-3861       RONISHA                        LAWSON                Ronisha Lawson v. Juul Labs, Inc. et al                            3:20-cv-08342        Pulaski Law Firm, PLLC
                                                                           Josef Lewis v. JUUL Labs, Inc., previously d/b/a PAX
118.    MDL-1815      JOSEF                          LEWIS                                                                                    3:20-cv-06135        Pulaski Law Firm, PLLC
                                                                           LABS, INC. and PLOOM INC. et al
119.   MDL-6991       Kyle                           Lichtenstein          Kyle Lichtenstein v. JUUL Labs Inc., et al                         3:22-cv-05673        Morgan & Morgan
120.   MDL-7303       Brandi                         Licoski               Brandi Licoski v. JUUL Labs Inc., et al                            3:22-cv-06338        Morgan & Morgan
121.   MDL-6857       Connor                         Loos                  Connor Loos v. JUUL Labs Inc., et al                               3:22-cv-05729        Morgan & Morgan
122.   MDL-6918       Sarel                          Lopez                 Sarel Lopez v. JUUL Labs Inc., et al                               3:22-cv-05684        Morgan & Morgan
123.   MDL-5843       Greta                          Loraditch             Greta Loraditch v. JUUL Labs Inc., et al                           3:21-cv-09607        Morgan & Morgan
124.   MDL-4834       Fernando                       Lucchetti             Fernando Lucchetti v. JUUL Labs Inc., et al                        3:21-cv-04713        Morgan & Morgan
125.   MDL-7347       Trae                           Luppens               Trae Luppens v. JUUL Labs Inc., et al                              3:22-cv-05916        Morgan & Morgan
126.   MDL-10934      JUMAUIS                        MACK                  Mack, Jumauis v. Juul Labs, Inc.,                              3:22-CV-06283-WHO        Frazer PLC
127.   MDL-7699       Carson                         MacMillan             N/A                                                                     N/A             Morgan & Morgan
128.   MDL-1097       Damian                         Maffei                Damian Maffei v. JUUL Labs Inc., et al                             3:20-cv-02656        Morgan & Morgan
129.   MDL-5605       HUGH             JOSEPH        MANUEL                                                                                                        Napoli Shkolnik PLLC
130.   MDL-6701       William                        Marchiani             William Marchiani v. JUUL Labs Inc., et al                         3:22-cv-06805        Morgan & Morgan
131.   MDL-10744      ROMERO                         MAXIMUS                                                                                                       Douglas & London
132.   MDL-10799      Caden                          McCandless            McCandless v. Juul Labs, Inc. et al                             3:22-cv-06697-WHO       ASK LLP
133.   MDL-11081      Michika                        McClinton             Michika McClinton v Juul, et al.                                   3:22-cv-08750        Pulaski Law Firm, PLLC
134.   MDL-1031       JOHN                           MCCLURE               McClure v. JUUL Labs, Inc. et. al.                                 3:20-cv-01838        Beasley Allen
135.   MDL-7679       Kayleigh                       McGovern              N/A                                                                     N/A             Morgan & Morgan
136.   MDL-8111       Lindy                          McGraw                Lindy McGraw                                                       3:22-cv-08040        Pulaski Law Firm, PLLC
137.   MDL-1145       Richard                        McMillon              Richard McMillon v. JUUL Labs,Inc.                                 3:20-cv-01315        Watts Guerra, LLP
138.   MDL-10291      Anthony                        Mellis                Anthony Mellis v. JUUL Labs Inc., et al                            3:22-cv-05704        Morgan & Morgan
139.   MDL-8121       Humayun                        Mian                                                                                     3:22-cv-07892        Pulaski Law Firm, PLLC
140.   MDL-5016       SHAYLEN                        MILLER                Bailey v. Juul Labs, Inc. et al                                    3:21-cv-04798        Beasley Allen
141.   MDL-7495       Marcela                        Modrusic              Marcela Modrusic v. JUUL Labs Inc., et al                          3:22-cv-06494        Morgan & Morgan
142.   MDL-6851       Bahja                          Mohamoud              Bahja Mohamoud v. JUUL Labs Inc., et al                            3:22-cv-05709        Morgan & Morgan
143.   MDL-11107      KELSEY           M             MORGAN BROWN                                                                                                  Pulaski Law Firm, PLLC
144.   MDL-7822       Tabitha                        Morris                Tabitha Morris v. JUUL et. al.                                      3:22-cv-8371        Pulaski Law Firm, PLLC
145.   MDL-1219       Julian                         Muhlemann             Julian Muhlemann v. JUUL Labs Inc., et al                          3:20-cv-02822        Morgan & Morgan
146.   MDL-7827       Jane                           Mulvahill             Jane Mulvahill                                                      3:22-cv-8290        Pulaski Law Firm, PLLC
147.   MDL-4293       MATTHEW                        MURPHY                Matthew Murphy et al. v. Juul Labs, Inc.                       3:2019-cv-06927 (cand)   Public Health Advocacy Institute
148.   MDL-3825       NOAH                           MURRAY                Noah Murray vs JUUL Labs Inc                                       3:20-cv-09121        Beasley Allen
                                                                           Muscari v. Juul Labs, Inc., previously d/b/a as Pax Labs,
149.   MDL-10800      Dylan                          Muscari                                                                               3:22-cv-07968-WHO       ASK LLP
                                                                           Inc. and Ploom Inc. et al
150.   MDL-10473      Baley                          Myerscough            Baley Myerscough v. JUUL Labs Inc., et al                          3:22-cv-06276        Morgan & Morgan
151.   MDL-6095       CAMERON                        NAYLOR                Cameron Naylor                                                  3:22-cv-00045-WHO       Schlesinger Law Offices, P.A.
152.   MDL-1155       Brad                           Nelson                Brad Nelson vs. JUUL Labs, Inc.                                    3:20-cv-00109        Watts Guerra, LLP
153.   MDL-3394       Robert                         Nichols               Robert Nichols v. JUUL Labs, Inc., et al.                          3:20-cv-05692        Schlesinger Law Offices, PA
154.   MDL-4615       Patrick                        Nicolia               Patrick Nicolia v. JUUL Labs, Inc., et al.                         3:21-cv-02963        Schlesinger Law Offices, PA
155.   MDL-1755       MD                             Noor                  MD Noor v. JUUL Labs Inc., et al                                   3:20-cv-06070        Morgan & Morgan
156.   MDL-7840       Kaitlin                        Norton                Kaitlin Norton                                                      3:22-cv-8505        Pulaski Law Firm, PLLC
157.   MDL-9563       William                        Norwood               William Norwood V Juul Labs, INC et. al                            3:22-cv-04220        Watts Guerra, LLP
158.   MDL-10255      Emmanuel                       Nwodo                 Emmanuel Nwodo v. JUUL Labs Inc., et al                            3:22-cv-04527        Morgan & Morgan
159.   MDL-10831      Chase                          O?Keefe               Chase O?Keefe v. JUUL Labs Inc., et al                             3:22-cv-07831        Morgan & Morgan
160.   MDL-7258       Nathan                         Padilla               Nathan Padilla v. JUUL Labs Inc., et al                            3:22-cv-06576        Morgan & Morgan
161.   MDL-10479      Joe                            Park                  Joe Park v. JUUL Labs Inc., et al                                  3:22-cv-06415        Morgan & Morgan
162.   MDL-1704       Malia                          Parker                Malia Parker v. JUUL Labs Inc., et al                              3:20-cv-05275        Morgan & Morgan
                                                                           Dylan Pearce V JUUL Labs, Inc., Marketing, Sales
163.    MDL-9126      Dylan                          Pearce                                                                                   3:22-cv-02211        Watts Guerra, LLP
                                                                           Practices and Products Liability Litigation, et al
164.    MDL-8571      PARMESHWAR                     PERSAUD                                                                                                       Stark & Stark
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                                                                     Altria Personal Injury Settlement Program
                                                                MDL Non-Communicating Plaintiffs Subject to Dismissal
                                                                                  (As of 5/22/2024)
                                           Middle
       Plaintiff ID       First Name                     Last Name                           Case Caption                              Docket Number                           Law Firm
                                           Initial
165.   MDL-7672       Jaume                          Plumb-Planas       N/A                                                                   N/A              Morgan & Morgan
166.   MDL-5457       BLAISE                         POTTS              Blaise Potts v. JUUL Labs, Inc. et al                            3:21-cv-08076         Beasley Allen
167.   MDL-5700       Zachary                        Pryor              Zachary Pryor v. JUUL Labs Inc., et al.                          3:21-cv-09123         Watts Guerra, LLP
168.   MDL-9173       Riley                          Reid               Reid v. Juul Labs, Inc., et al.                               3:22-cv-07767-WHO        Napoli Shkolnik PLLC
169.   MDL-6952       Dylan                          Rendon             Dylan Rendon v. JUUL Labs Inc., et al                            3:22-cv-05586         Morgan & Morgan
170.   MDL-8902       MICHAEL                        REVELL                                                                                                    Grant & Eisenhofer
171.   MDL-1044       Steven                         Rivas              Steven Rivas v. JUUL Labs Inc., et al                           3:19-cv-08311          Morgan & Morgan
172.   MDL-5838       James                          Roberts            James Roberts v. JUUL Labs Inc., et al                          3:21-cv-09533          Morgan & Morgan
173.   MDL-11263      Christopher                    Roethke            Christopher Roethke v. JUUL et. al.                              3:22-cv-8741          Pulaski Law Firm, PLLC
174.   MDL-7120       Alyssa                         Rogers             Alyssa Rogers v. JUUL Labs Inc., et al                          3:22-cv-06653          Morgan & Morgan
175.   MDL-11343      Henry                          Roy                Henry Roy v. Juul, et al.                                       3:22-cv-08722          Pulaski Law Firm, PLLC
176.   MDL-3478       Ryan                           Rozelle            Ryan Rozelle v. JUUL Labs, Inc., et al.                          3:20-cv-04361         Schlesinger Law Offices, PA
177.   MDL-6813       Hayley                         Rust               Hayley Rust v. JUUL Labs Inc., et al                            3:22-cv-02518          Morgan & Morgan
178.   MDL-3714       SEAN                           RYAN               Sean Ryan vs JUUL Labs Inc                                       3:20-cv-8660          Beasley Allen
179.   MDL-7912       Nicholas                       Sachs              Nicholas Sachs v. JUUL et. al.                                   3:22-cv-8760          Pulaski Law Firm, PLLC
180.   MDL-1187       Nathan                         Saelens            Nathan Saelens v. JUUL Labs Inc., et al                         3:202-cv-02799         Morgan & Morgan
181.   MDL-7061       Casseem                        Sampson            Casseem Sampson v. JUUL Labs Inc., et al                        3:22-cv-06788          Morgan & Morgan
182.   MDL-7925       Trevor                         Saunders           Trevor Saunders v. Juul, et al.                                  3:22-cv-8427          Pulaski Law Firm, PLLC
183.   MDL-6096       JUSTIN                         SCHUETTE           Justin Schuette                                                                        Stark & Stark
184.   MDL-6872       Brian                          Shannon            Brian P. Shannon v. JUUL Labs Inc., et al                        3:22-cv-05715         Morgan & Morgan

                                                                        Benjamin Shirvinski ; In Re JUUL Labs, Inc., Marketing,
185.    MDL-3793      BENJAMIN                       SHIRVINSKI                                                                       Case 3:20-cv-09069       Beasley Allen
                                                                        Sales Practices, and Products Liability Litigation

186.   MDL-10501      Damon                          Shumake            Damon Shumake v. JUUL Labs Inc., et al                          3:22-cv-06790          Morgan & Morgan
187.   MDL-6423       ALEXIS                         SHUMPERT           Alexis Shumpert v. Juul Labs, Inc. et al                        3:22-cv-00247          Pulaski Law Firm, PLLC
188.   MDL-7101       Angelina                       Sims               Angelina Sims v. JUUL Labs Inc., et al                          3:22-cv-06266          Morgan & Morgan
189.   MDL-6920       Nathan                         Sims               Nathan Sims v. JUUL Labs Inc., et al                            3:22-cv-05681          Morgan & Morgan
190.   MDL-1161       Eric                           Smith              Eric Smith v. JUUL Labs,Inc.                                    3:20-cv-01718          Watts Guerra, LLP
191.   MDL-4221       JOSEPH                         SMITH              Joseph Smith vs JUUL Labs Inc                                   3:21-cv-01321          Beasley Allen
192.   MDL-1163       Heather          Kathryn       Sobik              Heather Sobik vs. JUUL Labs, Inc.                             Case 3:19-cv-06565       Watts Guerra, LLP
193.   MDL-4722       DAVID                          SONG               David Song v. JUUL Labs, Inc. et al                             3:21-cv-04046          Beasley Allen
194.   MDL-6924       Jose                           Soriano            Jose Soriano v. JUUL Labs Inc., et al                           3:22-cv- 05645         Morgan & Morgan
195.   MDL-5732       Joshua                         Stafford           Joshua Stafford v. JUUL Labs, Inc., et al.                      3:21-cv-08662          Schlesinger Law Offices, PA
196.   MDL-3393       Jeremy                         Starling           Jeremy Starling v. JUUL Labs, Inc., et al.                      3:20-cv-05731          Schlesinger Law Offices, PA
197.   MDL-4647       TIMOTHY                        STEPHENS                                                                                                  Grant & Eisenhofer
198.   MDL-4243       Drew                           Stewart            Drew Stewart v. JUUL Labs Inc., et al                             3:21-cv-00878        Morgan & Morgan
199.   MDL-10936      BRIAN                          STURGEOUN          Sturgeoun, Brian v. Juul Labs, Inc.,                          3:22-CV-06232-WHO        Frazer PLC
200.   MDL-8436       Cierra                         Sullivan           Cierra Sullivan v. Juul                                           3:22-cv-08101        Pulaski Law Firm, PLLC
201.   MDL-9097       Jasmyn                         Taylor             Jasmyn Taylor v. JUUL Labs Inc., et al                            3:22-cv-01658        Morgan & Morgan
202.   MDL-9662       Jasmine                        Thomas             Jasmine Thomas V Juul labs INC et. al                          3:22-cv-03735-WHO       Watts Guerra, LLP
203.   MDL-7702       Austin                         Threadgill         N/A                                                                    N/A             Morgan & Morgan
204.   MDL-5845       Thaddeus                       Troublefield       Thaddeus Troublefield v. JUUL Labs Inc., et al                    3:21-cv-09625        Morgan & Morgan
205.   MDL-6293       NOAH                           VALERIO            Noah Valerio v. JUUL Labs, Inc. et al                                  N/A             Beasley Allen
206.   MDL-8476       Harley                         Vaughn             Harley Vaughn v. Juul, et al.                                     3:22-cv-07916        Pulaski Law Firm, PLLC
207.   MDL-5817       Tate                           Vestal             Tate Vestal v. JUUL Labs Inc., et al                              3:21-cv-09315        Morgan & Morgan
208.   MDL-10840      Nyomi                          Vila               Vila v. Juul Labs, Inc. et al                                  3:22-cv-07977-WHO       ASK LLP
209.   MDL-4830       CHRISTOPHER                    WALKER             Dyer v. Juul Labs, Inc. et al                                     3:21-cv-04752        Beasley Allen
210.   MDL-4125       REBECCA          C             WALKER             WALKER et al v. Juul Labs, Inc. et al                     Case No. 3:19-md-02913-WHO   Wallace Miller
211.   MDL-1109       CHASE                          WALLACE            Chase Wallace v. Juul Labs Inc. et al                             3:20-cv-02701        Beasley Allen
212.   MDL-4770       ADAM                           WARMAN             Adam Warman                                                       3:21-cv-05918        Schlesinger Law Offices, P.A.
213.   MDL-10472      Bailey                         Wasniak            Bailley Wasniak v. JUUL Labs Inc., et al                          3:22-cv-06274        Morgan & Morgan
214.   MDL-7182       Logan                          Weisz              Logan Weisz v. JUUL Labs Inc., et al                              3:22-cv-05534        Morgan & Morgan
215.   MDL-6760       Emily                          Wendleton          Emily Wendleton v. JUUL Labs Inc., et al                          3:22-cv-05751        Morgan & Morgan
216.   MDL-8359       Landon                         White              Landon White v. Juul                                               3:22-cv-8272        Pulaski Law Firm, PLLC
217.   MDL-10281      MUHAND                         WIDAH              Muhand Widah v. JUUL Labs, Inc. et al                             3:22-cv-06253        Beasley Allen
218.   MDL-5171       Morgan                         Wideman            Morgan Wideman v. JUUL Labs Inc., et al                           3:21-cv-05553        Morgan & Morgan
219.   MDL-5742       Austin                         Wiegand            Austin Wiegand v. JUUL Labs Inc., et al                           3:21-cv-08851        Morgan & Morgan
220.   MDL-7647       Kyle                           Wiesner            N/A                                                                    N/A             Morgan & Morgan
221.   MDL-7509       Isabella                       Williams           Isabella Williams v. JUUL Labs Inc., et al                        3:22-cv-06850        Morgan & Morgan
222.   MDL-6733       Nicholas                       Williams           Nicholas Williams v. JUUL Labs Inc., et al                        3:22-cv-04384        Morgan & Morgan
223.   MDL-4042       Robbie                         Wilson             Robbie Wilson v. JUUL Labs, Inc., et. al                          3:20-cv-09129        Watts Guerra, LLP
224.   MDL-6912       Gregory                        Wolters            Hunter M. Craig v. JUUL Labs Inc., et al                          3:22-cv-05637        Morgan & Morgan
225.   MDL-7649       Sean                           Workman            N/A                                                                    N/A             Morgan & Morgan
226.   MDL-7403       Lara                           Yee-Cagakit        Lara Yee-Cagakit v. JUUL Labs Inc., et al                         3:22-cv-06465        Morgan & Morgan
227.   MDL-9216       Vanessa                        Zastrow                                                                                                   Douglas & London
228.   MDL-6784       Rogelio                        Zavala             Rogelio Zavala v. JUUL Labs Inc., et al                          3:22-cv-06720         Morgan & Morgan
229.   MDL-6762       Igor                           Zhuravlyov         N/A                                                                   N/A              Morgan & Morgan
230.   MDL-6752       Ethan                          Zipsie             Ethan Zipsie v. JUUL Labs Inc., et al                           3:22-cv-05545          Morgan & Morgan
